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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                              Judge William J. Martínez

Date:                January 29, 2020
Courtroom Deputy:    Anna Frank
Court Reporter:      Mary George
Probation Officer:   Ryan Kinsella


 Criminal Action No. 17-cr-008-WJM                     Counsel:

 UNITED STATES OF AMERICA,                             Jeremy Sibert

       Plaintiff,

 v.

 GUY M. JEAN-PIERRE,                                   Thomas Goodreid
                                                       Clifford Barnard

       Defendant.


                                COURTROOM MINUTES


Sentencing Hearing

9:31 a.m.     Court in session.

Appearances of counsel. Also seated at Government’s counsel table are Agent Kate
Funk, FBI and Agent Jared Erwin, IRS.

Defendant is present on bond.

Defendant sworn.

Court’s remarks regarding defendant's offense level, criminal history level and
sentencing guidelines range.

Discussion held regarding loss amount, as stated on the record.

ORDERED: Defendant’s request to continue the Sentencing Hearing is denied.
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ORDERED: Defendant Jean-Pierre’s Objections, Corrections and Additions to the
         Presentence Investigation Report [ECF 226] are overruled and sustained,
         as stated on the record.

Argument given on sentencing.

11:11 a.m.    Court in recess.
11:23 a.m.    Court in session.

The Court states its consideration of the history and characteristics of the defendant
under 18 U.S.C. § 3553(a).

Victim impact statement.

Defendant waives his right to an allocution.

ORDERED: The Defendant Jean-Pierre’s Motion for Below-Guidelines Sentence [ECF
         230] is granted in part.

Court’s findings and conclusions.

ORDERED: Defendant shall be imprisoned for 60 months as to Count 1 and 84
         months as to Counts 2-11 and 13-29 of the Second Superseding
         Indictment, to be served concurrently. Upon release from imprisonment,
         the defendant shall be placed on supervised release for a period of 3
         years as to each Count, to be served concurrently.

The Court recommends that the director of the Bureau of Prisons give the defendant full
credit for time served in pretrial detention.

The Court recommends that the director of the Bureau of Prisons place the defendant in
a facility that is appropriate to his security designation and is located within the District
of Colorado.

ORDERED: The defendant shall cooperate in the collection of DNA as directed by the
         probation officer.

ORDERED: The defendant shall be subject to the standard, mandatory, and special
         conditions of supervised release, as stated on the record. Defendant shall
         pay a special assessment of $2,800, due and payable immediately.
         Payment of any fine is waived.

The Court finds that restitution provisions shall not be ordered, as stated on the record.
The Government intends to use the remission process to make victims whole.
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ORDERED: Pursuant to Fed. Rules of Crim. P. Rule 32.2(b)(4) and the Court’s
         Preliminary Order of Forfeiture for a Personal Money Judgment Against
         Defendant Guy M. Jean-Pierre [ECF 248], personal money judgment in
         the amount of $5,000.00 shall be made part of the sentence and included
         in the Court’s Judgment.

ORDERED: The Court finds by clear and convincing evidence that the defendant is not
         likely to flee or pose a danger to the safety of the community. It is
         therefore, ordered that the defendant, surrender at the institution
         designated by the Bureau of Prisons on March 4, 2020 by 12:00 p.m.
         Failure to report will be a new and separate criminal offense.

ORDERED: Defendant’s bond is continued and all conditions set forth in the
         Magistrate Judge’s Order Setting Conditions of Release shall continue to
         apply.

The defendant is formally advised of his limited right to appeal the sentence imposed by
the Court. Any notice of appeal must be filed with the Clerk of the Court within 14 days
after entry of judgment.

Discussion held regarding the defendant’s legal name, as stated on the record.

12:20 p.m.    Court in recess.

Total time in court: 2:37

Hearing concluded.
